                      Case 1:21-mj-00119-ZMF Document 1 Filed 01/19/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
  Jessica Marie Watkins,
                                                                   )      Case No.
    Donovan Ray Crowl,                                             )
 Thomas Edward Caldwell,                                           )
                                                                   )
                                                                   )
                          Defendant(s)


                                                AMENDED CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 371                                 Conspiracy
18 U.S.C. § 372                                 Conspiracy to Impede or Injure Officer Without Lawful Authority
18 U.S.C. § 1361                                Destruction of Government Property
18 U.S.C. § 1512(c)(2)                          Obstruction of an Official Proceeding
18 U.S.C. § 1752(a)                             Restricted Building or Grounds
40 U.S.C. § 5104(e)(2)                          Violent Entry and Disorderly Conduct on Capitol Grounds



         This criminal complaint is based on these facts:
See attached affidavit, which is incorporated herein by reference.




         ✔ Continued on the attached sheet.
         u


                                                                                              Complainant’s signature

                                                                                  Michael M. Palian Jr., Special Agent, FBI
                                                                                               Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                             2021.01.19
Date:             01/19/2021                                                                              12:58:31 -05'00'
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                         ZIA M. FARUQUI U.S. MAGISTRATE JUDGE
                                                                                               Printed name and title
